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                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE NORTHERN DISTRICT
                           OF ILLINOIS EASTERN DIVISION


  IN RE: ETHIOPIAN AIRLINES FLIGHT ET 302
  CRASH                                                       Civil No. 1:19-cv-02170

                                                              District Judge: Hon. Jorge L. Alonso
  This Document Relates To:
  YALENA LOPEZ-LEWIS, as Administrator of the                 Magistrate Judge: Hon. M. David
  Estate of ANTOINE M. LEWIS Sr., deceased,                   Weisman
  Case No.: 1:19-cv-4964


                                    NOTICE OF MOTION

       Please take notice that on Monday, March 31, 2025, at 11:00 a.m., Plaintiff Yalena

Lopez-Lewis will appear before the Honorable Judge Jorge L. Alonso in courtroom 1903 of the

Everett McKinley Dirksen Building, 219 South Dearborn Street, Chicago, Illinois, and present

Plaintiff Lopez-Lewis’ Motion for Leave to File Under Seal Plaintiff Lopez-Lewis’ Motions in

Limine Nos. 2, 3, and 4, copies of which are also being served upon counsel for all parties.




DATE: March 3, 2025                                          Respectfully Submitted,



                                                            s/ Antonio M. Romanucci
                                                            One of Plaintiff’s Attorneys
Antonio M. Romanucci
Patrick J. Driscoll
Michelle R. DiSilvestro
ROMANUCCI & BLANDIN, LLC
321 N. Clark St., Suite 900
Chicago, IL 60654
Tel: (312) 458-1000
Fax: (312) 438-1004
aromanucci@rblaw.net
pdriscoll@rblaw.net
mdisilvestro@rblaw.net


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